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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                    ***
 4      UNITED STATES OF AMERICA,                                 Case No. 2:14-cr-00249-APG-PAL
 5                          Plaintiff,                             ORDER ON OBJECTIONS TO
                                                                   REPORT OF FINDINGS AND
 6             v.                                                    RECOMMENDATION
 7      WEI SENG PHUA, et al.,                                           (Dkt. #344, #397, #416)
 8                         Defendants.
 9
10            Defendant Wei Seng Phua objects (Dkt. #416) to Magistrate Judge Leen’s Order on his
11     motion to compel (Dkt. #344). Phua seeks production of all prior drafts of a search warrant
12     affidavit and any email communications regarding preparation of the drafts. Following an in
13     camera review of the requested material, Judge Leen denied the motion. (Dkt. #397.) On March
14     4, 2015, Phua indicated:
15                    it is sufficient for this Honorable Court (like Magistrate Judge Leen)
                      to review the drafts in camera as well. If it then determines the
16                    drafts are relevant to the pending motions to suppress, it can order
                      disclosure at that time. Beyond that, the Defendants do not believe
17                    that further action will be required with respect to the drafts.

18     (Dkt. #433 at 4.)
19            I have conducted an in camera review of the draft warrant affidavits and related emails
20     and I decline to order disclosure in relation to the motions to suppress. I have already granted
21     Phua’s motions to suppress. Nothing in the draft warrants or emails would alter that analysis.
22            IT IS THEREFORE ORDERED that Phua’s motion to compel (Dkt. #344) is denied and
23     his objections (Dkt. #416) to Judge Leen’s order (Dkt. #397) are overruled.
24            DATED this 17th day of April, 2015.
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26                                                          ANDREW P. GORDON
                                                            UNITED STATES DISTRICT JUDGE
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